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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION

 IN RE: BIOMET M2a MAGNUM HIP            )
 IMPLANT PRODUCTS LIABILITY              )   CAUSE NO. 3:12-MD-2391
 LITIGATION (MDL 2391)                   )
                                         )
                                         )
 This Document Relates to the Cases      )
 Listed in Exhibit A                     )
                                         )

                            ORDER TO SHOW CAUSE

       On September 25, 2019, the Plaintiffs’ Steering Committee and the

 Biomet Defendants jointly submitted a list of settled and fully-funded cases

 which remain pending in MDL 2391, attached hereto as Exhibit A. Given the

 parties’ report that Biomet has deposited into escrow settlement funds to fully

 resolve these cases, or has directly paid the plaintiff specified, the Court

 AFFORDS the plaintiffs listed on Exhibit A thirty (30) days from the date of this

 order to show cause why their individual case should not be dismissed with

 prejudice.

       SO ORDERED.

       ENTERED:        September 25, 2019



                                           /s/ Robert L. Miller, Jr.
                                      Judge, United States District Court
                                      Northern District of Indiana
  Exhibit A
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Last Name      First Name         Docket No.
Haywood        Karen            3:13-cv-00129
Smith          James            3:14-cv-00676
Bryant         Richard          3:14-cv-00984
Brazzel        Julius           3:14-cv-01508
Burton         John             3:15-cv-00081
Lewis          Nancy            3:15-cv-00216
Synder         William          3:15-cv-00582
Martin         Kenneth          3:16-cv-00042
Calhoun        Donald           3:17-cv-00146
Bauer          Donna            3:17-cv-00199
Buhler         David            3:17-cv-00244
Laule          Carl             3:17-cv-00273
Webster        Mary Ann         3:17-cv-00295
Gillespie      Deborah          3:17-cv-00610
McDaniel       Kenneth          3:17-cv-00747
Thatcher       Jeffrey Lee      3:17-cv-00808
Howell         Sue              3:18-cv-00131
Hall           Patrick          3:18-cv-00229
Rader III      Lee              3:18-cv-00275
Stegall        Mary             3:18-cv-00393
Clements       Kris             3:18-cv-00578
